
The following was pronounced as the opinion of this court.
*“The court is of opinion that, under the actual circumstances of this case, and especially, the great lapse of time which has occurred since the assessment of the damages under which the claim of Samuel Williamson to the sum in controversy is founded, and the acquiescence of the said Samuel Williamson (who probably resided in the neighbourhood) in the building the mill, (for which these damages were given,) without claim or objection on his part, the' damages aforesaid ought to be presumed to have been paid; and that, therefore, the bill of the. appellant as to the appellees, William Price and Robert Price, was properly dismissed by the decree now in question ; but, inasmuch as the payment of the' sum of fifty-four pounds twelve shillings, by the appellant to the said Williamson, was coerced by representations, on the part of the latter, which made it proper for the former to come into a court of equity to have the questions resulting from the claim aforesaid adjusted, if not, to pay the said sum to the said Williamson in the first instance, and, (as the matter now appears,) the said sum being so paid to him without consid-, eration; the court is of opinion that the said bill ought to have been sustained as to. the appellee Dabney Williamson, and he decreed to repay the sum aforesaid, with interest and costs, to the appellant. Therer fore, it is decreed and ordered that the said decree, so far as it dismisses the bill as to the last-mentioned appellee, be reversed and annulled; that the residue thereof be. affirmed; and that the appellee Dabney Williamson, out of the estate of his testator in his hands to be administered, if so -much thereof he hath, but, if not, then out of his own estate, pay to the appellant his costs by him expended in the prosecution of his appeal aforesaid here. And this court, proceeding, &amp;c. it is further decreed and ordered, that the appellee Dab-ney Williamson, out of the estate of his. testator in his hands to be administered, if so much thereof he hath, pay to the appellant *the said sum of • 541. 12s. with interest thereon, to be computed, after the rate of five per centum per annum, from the 19th day of August, 1795, till paid, and his costs by him expended' in prosecuting his suit in the said court of chancery; but, if not, then the costs aforesaid to be levied of his proper goods and chattels. ’ ’
